               Case 2:19-cv-00239-GMS Document 26 Filed 09/19/19 Page 1 of 2



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11   Attorneys for Bardwell Defendants

12
                          IN THE UNITED STATES DISTRICT COURT
13

14                                   DISTRICT OF ARIZONA
15
     Ronald H. Pratte,                                 Case No.: 2:19-cv-00239-PHX-GMS
16
                    Plaintiff,
17
                                                       NOTICE OF INTENT TO SERVE
     vs.
18                                                     SUBPOENA DUCES TECUM
19   Jeffrey Bardwell and Fanny F. Bardwell,
     husband and wife,
20
                    Defendants.
21

22            Pursuant to Fed. R. Civ. P. 45(a)(4), Defendant Jeffrey Bardwell gives notice of
23
     his intent to serve a Subpoena Duces Tecum on the following individual: Trevor Pratte.
24
              A copy of the subpoena has been provided to Plaintiff’s counsel via U.S. Mail and
25

26   email.
27

28




                                                   1
              Case 2:19-cv-00239-GMS Document 26 Filed 09/19/19 Page 2 of 2



1            Dated this 19th day of September, 2019.
2

3
                                               By: /s/ Thomas J. Marlowe
4                                              LAW OFFICES OF THOMAS J. MARLOWE
                                               2425 East Camelback Road, Suite 880
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                                               Phoenix, Arizona 85016
6                                              Attorney for Defendant
7

8                                  CERTIFICATE OF SERVICE
9
             I, Thomas J. Marlowe, hereby certify that on September 19, 2019, I electronically
10
     transmitted the foregoing document to the Clerk’s Office using the ECF system for filing
11

12   and transmittal of a Notice of Electronic Filing to the following ECF registrant(s) in this

13   case.
14
     By: /s/ Thomas J. Marlowe
15

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